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603     3D Model of Capitol                     Moore
                                                              yes          3/2
                                                          (es             ?>/�
603A    3D Model of Capitol (facing            Kerkhoff
        west)


                                                          '/-es
604.l   Plotted map of Life360 data -           Ryan
        Texas to DC
                                                                          3/ 7-
604.2   Plotted map of Life360 data -
        Within DC
                                                Ryan
                                                          '/e?            >{:,-
604.3   Plotted map of Life360 data -
        DC to Texas
                                                Ryan
                                                          v-e 7           :,J-:;-
604.4   Plotted map of Life360 data -
        Within Texas
                                                Ryan
                                                          '{e 7           3/=r
 605    BLANK

 606    BLANK

 607    BLANK

                               700 SERIES-STIPULATIONS


 No.    Descri12.tion                           Witness       Admitted?     Date

 700    Stipulation re Capitol Building      ra.
                                          fl/loO          � '�f�?
                                                               l
                                                                           ,1�
 701    Stipulation re USCP videos
                                          Moote_              Y�5         3/<-
                                          5h��, �res                      5/
 702    Stipulation re Certification of
        Electoral College vote
                                                                               cr

                                          19
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